&lt;HTML&gt;
&lt;HEAD&gt;
&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt;
&lt;TITLE&gt;&lt;/TITLE&gt;
&lt;/HEAD&gt;
&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/P&gt;
&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;7&lt;/A&gt;-00&lt;A NAME="2"&gt;41&lt;/A&gt;-CV&lt;/CENTER&gt;
&lt;/STRONG&gt;

&lt;P&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/P&gt;


&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;Thomas Retzlaff&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;A NAME="4"&gt;State of Texas&lt;/A&gt;, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="5"&gt;BELL&lt;/A&gt; COUNTY,&lt;A NAME="6"&gt;&lt;/A&gt; 146TH JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 160,939-B&lt;A NAME="7"&gt;&lt;/A&gt;, HONORABLE RICK MORRIS&lt;A NAME="8"&gt;&lt;/A&gt;, JUDGE PRESIDING &lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

&lt;P&gt;	On January 27, 1997, appellant Thomas Retzlaff filed a motion for extension of time to file
the record in this cause.  That same day, the Clerk's office requested that Retzlaff file, by March 10, 1997,
an amended motion that included a clerk's affidavit.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 73.  To date, an amended motion
has not been filed.  &lt;/P&gt;

&lt;P&gt;	We therefore dismiss the cause for want of prosecution.  Tex. R. App. P. 60(a)(2).&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;Before Justices Powers, Jones and Kidd&lt;/P&gt;

&lt;P&gt;Dismissed for Want of Prosecution&lt;/P&gt;

&lt;P&gt;Filed:   August 28, 19997&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

&lt;/BODY&gt;
&lt;/HTML&gt;
